






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN







NO. 03-09-00728-CR







Lorena Candice Brooks, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF BELL COUNTY, 27TH JUDICIAL DISTRICT


NO. 53267, HONORABLE JOE CARROLL, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



PER CURIAM

Appellant's brief was due February 19, 2010.  The brief has not been received and
appellant's appointed attorney, Jeffrey D. Parker, did not respond to the Court's notice that the brief
is overdue.

The appeal is abated.  The trial court shall conduct a hearing to determine whether
appellant desires to prosecute this appeal and, if so, whether the attorney it appointed to represent
appellant has abandoned the appeal.  Tex. R. App. P. 38.8(b)(2).  The court shall make appropriate
findings and recommendations.  If necessary, the court shall appoint substitute counsel who will
effectively represent appellant in this cause.  A record from this hearing, including copies of all
findings and orders and a transcription of the court reporter's notes, shall be forwarded to the Clerk
of this Court for filing as a supplemental record no later than May 14, 2010.  Rule 38.8(b)(3).


Before Chief Justice Jones, Justices Pemberton and Waldrop

Abated

Filed:   April 14, 2010

Do Not Publish


